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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                        TYLER DIVISION


                                              )
    ROTHSCHILD BROADCAST                      )
    DISTRIBUTION SYSTEMS, LLC,                )
                                              )
                             Plaintiff,       )
                                              )       Case No. 6:15-cv-00233-RWS-JDL
                v.                            )
                                              )       JURY TRIAL DEMANDED
    VUDU, INC.,                               )
                                              )
                             Defendant        )
                                              )
                                              )



                        MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
                                   PURSUANT TO 35 U.S.C. § 101




                                                  VUDU’S MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
    Americas 90588676                                                   CASE NO. 6:15-CV-00233-RWS-JDL
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    I.          INTRODUCTION

                Defendant VUDU, Inc. moves to dismiss this patent infringement action pursuant

    to Fed. R. Civ. P. 12(b)(6) because Plaintiff Rothschild Broadcast Distribution Systems,

    LLC has failed to state a claim upon which relief can be granted.1 Specifically, the claims

    of the asserted patent, U.S. Patent No. 8,856,221 (the “’221 Patent”), are invalid under 35

    U.S.C. § 101 because they are drawn to patent-ineligible subject matter, the abstract idea

    of storing and delivering media content.

                The ’221 Patent, entitled “System and Method for Storing Broadcast Content in a

    Cloud-Based Computing Environment,” generally describes a process in which one

    receives a request for media content (for example, a video), determines whether the video

    is available, and, if so, delivers it to the person who requested it. This rote inventory

    checking, retrieval, and delivery procedure describes nothing beyond an abstract idea and

    could be performed by any video rental store employee who, at a customer’s request,

    checks whether a particular video is in stock and, if so, provides it to the customer.

                This is an everyday process of the retail world, applicable to any business that sells

    some kind of good, whether tangible or digital. One receives a request, confirms

    availability of the product or acquires it, and arranges for delivery. The ’221 Patent’s

    effort to computerize this everyday retail process falls far short of adding an inventive

    concept that would set any meaningful bounds on the claims.

                To police against improper patents, the Supreme Court mandates a two-step




    1
      VUDU acknowledges that Vimeo filed a Motion to Dismiss on similar grounds. See
    6:15-cv-00232, Dkt. No. 10. VUDU joins in that motion and makes the additional points
    raised here.

                                                          1
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    analysis for patent eligibility.2 First, a court evaluates whether the patent is drawn merely

    to an abstract idea. Second, the court determines if the patent’s claims contain any

    inventive step that takes the patent outside the realm of the abstract. Patents covering far

    more sophisticated business methods have been declared invalid by the Supreme Court,

    the Federal Circuit, and this Court. See, e.g., Alice Corp. v. CLS Bank Int’l, 134 S. Ct.

    2347, 2352 (2014) (invalidating patent covering abstract idea of computerized settlement

    intermediation); Ultramercial, LLC v. Hulu, LLC, 772 F.3d 709, 711-12 (Fed. Cir. 2014)

    (invalidating patent covering abstract idea for ad-supported media delivery system); Clear

    With Computers, LLC v. Altec Indus., Inc., No. 6:14-cv-79, 2015 WL 993392, at *1, *4

    (E.D. Tex. Mar. 3, 2015) (“Clear with Computers II”) (Gilstrap, J.) (invalidating patent

    involving “abstract idea of creating a customized sales proposal for a customer”); Loyalty

    Conversion Sys. Corp. v. Am. Airlines, Inc., No. 2:13-CV-655, 2014 WL 4364848, at *7,

    *14 (E.D. Tex. Sept. 3, 2014) (Bryson, J., sitting by designation) (invalidating patent that

    set forth “the general concept of currency exchange, as applied to loyalty awards”); Clear

    with Computers, LLC v. Dick’s Sporting Goods, Inc., 21 F. Supp. 3d 758, 761, 765 (E.D.

    Tex. 2014) (Davis, J.) (“Clear with Computers I”)3 (invalidating patent involving “abstract

    idea of inventory-based selling”).

                The ’221 Patent’s claims are drawn to an abstract idea, and there is no inventive

    element that can save the patent from invalidity under 35 U.S.C. § 101. Accordingly, this

    Court should dismiss Plaintiff’s complaint for failure to state a claim.




    2
        See Alice Corp. Pty. Ltd. v. CLS Bank Int'l, 134 S. Ct. 2347, 2357 (U.S. 2014).
    3
     Clear with Computers I was decided before Alice and Ultramercial, but anticipates the
    analytical framework used in both cases.

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    II.         STATEMENT OF THE ISSUE

                Whether the ’221 Patent’s claims—for systems and methods for storing and

    delivering media content—are directed to an abstract idea, fail to contain an inventive step

    and are therefore, ineligible for a patent under 35 U.S.C. § 101.

    III.        BACKGROUND

                A.      Plaintiff’s Complaint

                On March 19, 2015, Plaintiff filed its complaint for patent infringement against

    VUDU. Separately, Plaintiff filed similar suits in this Court against nine other companies,

    asserting the same patent.4 All ten cases have been assigned to Judge Schroeder. No case

    management order has issued in any of the cases.

                Plaintiff claims to own or have the right to enforce the ’221 Patent. Compl., Dkt.

    No. 1 ¶ 7. Plaintiff asserts the ’221 Patent’s claims relate to a “‘system for media content

    storage and delivery’ comprising a variety of features” and a “‘method for storing media

    content and delivering requested media content to a consumer device.’” Id. ¶¶ 10, 12

    (quoting ‘221 Patent, claims 1 and 7). Plaintiff further asserts VUDU’s systems “are ‘a

    system for media content storage and delivery’” and VUDU “practices a ‘method for

    storing media content and delivering requested media content to a consumer device.’” Id.

    ¶¶ 11, 13 (quoting ’221 Patent, claims 1 and 7).

    4
      These cases are: Rothschild Broadcast Distribution Systems, LLC v. Comcast Corp.,
    6:15-cv-226; Rothschild Broadcast Distribution Systems, LLC v. Discovery
    Communications, Inc., 6:15-cv-227; Rothschild Broadcast Distribution Systems, LLC v.
    NGC Networks US, LLC, 6:15-cv-228; Rothschild Broadcast Distribution Systems, LLC v.
    Univision Communications, Inc., 6:15-cv-229; Rothschild Broadcast Distribution Systems,
    LLC v. UStream, Inc., 6:15-cv-230; Rothschild Broadcast Distribution Systems, LLC v.
    VBrick Sys., Inc., 6:15-cv-231; Rothschild Broadcast Distribution Systems, LLC v. Vudu,
    Inc., 6:15-cv-233; Rothschild Broadcast Distribution Systems, LLC v. Wistia, Inc., 6:15-
    cv-234; and Rothschild Broadcast Distribution Systems, LLC v. Crunchyroll, Inc., 6:15-
    cv-238.

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                B.      The ’221 Patent

                The ’221 Patent issued on October 7, 2014 and was initially assigned to its

    inventor, Leigh M. Rothschild. Compl., Dkt No. 1, ¶ 7. The ’221 Patent claims priority to

    a provisional application filed on August 29, 2011. ’221 Patent 1:8-17. The ’221 Patent’s

    abstract states that the patent covers “[a] system, method and device for media content

    storage and delivery,” and that the invention relates to the field of “on-demand storage and

    delivery of media content.” Id. 1:25-27.

                The “background” section of the ’221 specification states “[t]he widespread

    growth of communication networks and internet enabled consumer devices allow

    consumers to stream on-demand videos and music.” Id. 1:31-33. The specification

    continues:

                        The on-demand video and music service is typically
                        provided by large companies or second party distributors
                        that store the media content for streaming to the consumer
                        devices. For example, a television company may maintain a
                        television server that stores all television shows that are
                        broadcast by the television company such that the consumer
                        may stream the stored television show on the consumer
                        device. This requires the television company to store all or
                        substantially all the shows broadcast by the television
                        company, which requires a great deal of data storage and
                        often comes at a significant cost to the television company.
    Id. 1:33-44.

                According to the specification, the innovation suggested by the ’221 Patent is a

    system or method by which a broadcaster could store content most frequently requested by

    consumers on a “broadcast server” while keeping its entire programming catalog on a

    “remote server” (where, presumably, it costs less to store content). Id. 3:47-49. If a

    consumer requests content that is already on the broadcast server, the system can deliver

    the content immediately. If the consumer requests content that is only on the remote


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    server, the system can put the content in a queue for release to the broadcast server for

    delivery to the consumer. However the issued claims, which control here, are not so

    limited, and broadly suggest an even more abstract concept—a system “configured to

    receive a request” for “storage” or “delivery” of “media content” that is “further

    configure[d] to initiate delivery of the requested media content to the consumer device.”

    See, e.g., id. 10:44-67.

                The ’221 Patent has 13 claims—two of which are independent claims (claims 1

    and 7). Both independent claims are directed to the same general idea of, upon a

    consumer’s request, checking to see whether an item of media content is available, and

    both claims feature nearly identical limitations (as italicized):

    1. A system for media content storage and          7. A method for storing media content and
    delivery, the system comprising:                   delivering requested media content to a
                                                       consumer device, the method comprising:
      a first server, the first server including:
        a first receiver, the first receiver               receiving a request message including
        configured to receive a request message            media data indicating requested media
        including media data indicating                    content and a consumer device identifier
        requested media content and a                      corresponding to the consumer device;
        consumer device identifier
        corresponding to a consumer device;
        and
        a first processor in communication with            determining whether the consumer
        the first receiver, the first processor            device identifier corresponds to a
        configured to determine whether the                registered consumer device; and
        consumer device identifier corresponds
        to a registered consumer device;
        if the first processor determines that the         if it is determined that the consumer
        consumer device identifier corresponds             device identifier corresponds to the
        to the registered consumer device, then:           registered consumer device, then:

           the first processor is further configured        determining, whether the request
           to determine whether the request                 message is one of a storage request
           message is one of a storage request              message and a content request
           message and a content request                    message; and
           message;
         if the request message is the storage             if the request message is the storage

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          request message, then the processor is                 request message, then determining
          further configured to determine whether                whether the requested media content is
          the requested media content is available               available for storage; and
          for storage; and
          if the request message is the content                  if the request message is the content
          request message, then the processor is                 request message, then initiating delivery
          further configured to initiate delivery of             of the requested media content to the
          the requested media content to the                     consumer device;
          consumer device;
          wherein the media data includes time                   wherein the media data includes time
          data that indicates a length of time to                data that indicates a length of time to
          store the requested media content; and                 store the requested media content; and
          the first processor is further configured              the first processor is further configured
          to determine whether the requested                     to determine whether the requested
          media content exists; and                              media content exists; and
          if the processor determines that the                   if the processor determines that the
          requested media content exists, the                    requested media content exists, the
          processor is further configured to                     processor is further configured to
          determine whether the requested media                  determine whether the requested media
          content is available and whether there                 content is available and whether there
          are restrictions associated with the                   are restrictions associated with the
          requested media content that prevent                   requested media content that prevent the
          the requested media content from being                 requested media content from being
          delivered to the consumer device.                      delivered to the consumer device.

                 The 11 dependent claims (claims 2-6, 8-13) add insubstantial limitations to the

     corresponding independent claims 1 and 7:

                         •   Providing a message confirming that requested media content is available

                             for storage (claims 2, 8).

                         •   Providing a message prompting a user to register a consumer device

                             (claim 3).

                         •   Providing memory to store consumer user data including consumer device

                             data (claims 4, 9).

                         •   Verifying that a consumer device identifier is associated with a particular

                             consumer (claims 5, 11).

                         •   Transmitting requested media content after verifying that a consumer

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                             device identifier corresponds to a registered consumer device (claim 6).

                         •   Informing the consumer of the cost of the requested media content (claim

                             12) and doing the same where the cost does not vary based upon the

                             number of times the content is delivered (claim 13).

                 The ’221 Patent reflects no invention of any new software or hardware. Instead,

     the claimed systems and methods operate with well-known computer components. The

     patent states the purported invention can be put into practice using “[a]ny kind of

     computing system,” and “[a] typical combination of hardware and software could be a

     specialized or general purpose computer system.” Id. 10:12-19.

                 A consumer device “may include wired or wireless devices such as mobile phones,

     personal digital assistant devices, personal computers, laptop computers, tablet computers,

     digital video recorders, televisions, digital versatile disc players, among other devices that

     may communicate via network.” Id. 3:56-60. The processors may include a “central

     processing unit (CPU) for executing computer program instructions stored in memory, as

     is well known in the art.” Id. 3:65-67. “Memory may include non-volatile and volatile

     memory.” Id. 4:1-3. Non-volatile memory “may include a hard drive, memory stick,

     flash memory and the like,” and “volatile memory may include random access memory

     and others known in the art.” Id. 3:3-5. The various items of hardware communicate “via

     network using communication protocols known in the art, e.g., Internet Protocol.” Id.

     3:50-52.

     IV.         LEGAL STANDARDS

                 To survive a Rule 12(b)(6) motion, a complaint “must provide the plaintiff’s

     grounds for entitlement to relief, including factual allegations that when assumed to be


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     true raise a right to relief above the speculative level.” Cuvillier v. Sullivan, 503 F.3d 397,

     401 (5th Cir. 2007) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007))

     (internal quotation marks omitted). In deciding a Rule 12(b)(6) motion, courts may

     consider facts alleged in the complaint as well as documents attached to or incorporated

     into the complaint. See Lovelace v. Software Spectrum, 78 F.3d 1015, 1017 (5th Cir.

     1996). Although factual allegations are taken as true, this principle “is inapplicable to

     legal conclusions.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

                 Whether a patent is drawn to patentable subject matter is an appropriate issue for a

     motion to dismiss. “Failure to recite statutory subject matter is the sort of ‘basic

     deficiency,’ that can, and should, ‘be exposed at the point of minimum expenditure of

     time and money by the parties and the court.’” Oip Techs. v. Amazon, No. 2012-1696,

     2015 WL 3622181, at *4 (Fed. Cir. June 11, 2015) (quoting Twombly, 550 U.S. at 558)

     (Mayer, J., concurring) (emphasis added). “Addressing 35 U.S.C. § 101 at the outset not

     only conserves scarce judicial resources and spares litigants the staggering costs

     associated with discovery and protracted claim construction litigation, it also works to

     stem the tide of vexatious suits brought by the owners of vague and overbroad business

     method patents.” Id. Thus, district courts should adhere “to the Supreme Court’s

     instruction that patent eligibility is a ‘threshold’ issue, by resolving it at the first

     opportunity.” Id. (citing Bilski v. Kappos, 561 U.S. 593, 602 (2010)); see also

     Ultramercial, 772 F.3d at 711-12 (“[W]e conclude that the ’545 patent does not claim

     patent-eligible subject matter and accordingly affirm the district court’s grant of

     WildTangent’s motion to dismiss.”); Clear with Computers II, 2015 WL 993392, at *1

     (granting Rule 12(b)(6) motion to dismiss based upon patent ineligibility under Section


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     101); Uniloc USA, Inc. v. Rackspace Hosting, Inc., 18 F. Supp. 3d 831, 833 (E.D. Tex.

     2013) (same).

                 The Supreme Court has articulated a two-step framework for determining

     patentable subject matter. See Alice, 134 S. Ct. at 2355. First, a court must “determine

     whether the claims at issue are directed to one of those patent-ineligible concepts,” such as

     an abstract idea. Id. For example in Alice, the Court concluded the concept of

     “intermediated settlement” is a fundamental economic practice that falls “squarely within

     the realm of ‘abstract ideas.’” Id. at 2357. Second, if the claims are so directed, the court

     must then consider “the elements of each claim both individually and ‘as an ordered

     combination’ to determine whether the additional elements ‘transform the nature of the

     claim’ into a patent-eligible application.” Id. at 2350 (quoting Mayo Collaborative Servs.

     v. Prometheus Labs., Inc., 132 S. Ct. 1289, 1297 (U.S. 2012). This second step searches

     for an “‘inventive concept’—i.e., an element or combination of elements that is ‘sufficient

     to ensure that the patent in practice amounts to significantly more than a patent upon the

     [ineligible concept] itself.’” Id. at 2355 (alteration in original) (quoting Mayo, 132 S. Ct.

     at 1294). In other words, “if a patent merely implement[s] an abstract idea on a computer,

     that addition cannot impart patent eligibility.” Id. at 2358 (citation, alterations, and

     internal quotation marks omitted). “[T]he mere recitation of a generic computer cannot

     transform a patent-ineligible abstract idea into a patent-eligible invention.” Id. at 2358.

     As shown below, the ‘221 Patent fails both steps of this test.

                 Moreover, in deciding patentability, a court need not review all claims, but only

     those that are representative of the claimed invention as a whole. See Ultramercial, 772

     F.3d at 712 (reviewing only claim 1 as “representative” and noting that “the other claims


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     of the patent are drawn to a similar process” and therefore “suffer from the same infirmity

     as claim 1 and need not be considered further”). Further, “claim construction is not an

     inviolable prerequisite to a validity determination under § 101.” Bancorp Services, LLC v.

     Sun Life Assur. Co. of Canada, 687 F.3d 1266, 1273-74 (Fed. Cir. 2012); see also

     Ultramercial, 772 F.3d at 713-14 (noting the “district court granted WildTangent’s pre-

     answer motion to dismiss under Rule 12(b)(6) without formally construing the claims”

     and examining patentability “[w]ithout purporting to construe the claims”); Clear with

     Computers II, 2015 WL 993392, at *3 (“[T]he particular facts of this case indicate that

     claim construction is unnecessary.”); Genetic Techs. Ltd. v. Lab. Corp. of Am. Holdings.,

     No. 1201736-LPS-CJB, 2014 WL 4379587, at *1 (D. Del. Sept. 3, 2014) (deciding

     Section 101 motion prior to claim construction is appropriate where no disputed areas of

     fact are relevant to motion).

                 Here, as in Clear with Computers II, this Court can invalidate the asserted patent

     without claim construction because “the claim language is relatively simple.” Clear with

     Computers II, 2015 WL 993392, at *3.

     V.          ARGUMENT

                 A.      The ’221 Patent Is Not Directed to Patent-Eligible Subject Matter

                 The Supreme Court has strongly signaled that federal courts should root out

     patents unworthy of the limited monopoly conferred by the patent laws, including so-

     called business-method patents that purport to cover basic practices in the commercial

     marketplace. This began with Bilski, where the Court held a patent directed to a “method

     for hedging against the financial risk of price fluctuations” was invalid for claiming an

     abstract idea—namely the “fundamental economic practice” of hedging. Alice, 134 S. Ct.


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     at 2355-56 (citing Bilski v. Kappos, 561 U.S. 593, 611 (2010)). The patent in this case is

     directed to an abstract idea and contains no steps sufficient to confer patent eligibility.

                         1.     The ’221 Patent Is Directed to an Abstract Idea

                 District courts, including this Court, have invalidated patents in early stages of

     litigation, based on this guidance.5 In Clear with Computers I, the patent claimed a

     method with the following steps: “(1) receiving a product query, (2) determining the

     availability of products and associated options in inventory, (3) preparing a list of

     available options, and (4) presenting the list.” Clear with Computers I, 21 F. Supp. 3d at

     765. Judge Davis found (1) the patent “involves the abstract idea of inventory-based


     5
       See, e.g., OpenTV, Inc. v. Apple, Inc., No. 14-cv-01622-HSG, 2015 WL 1535328, at *4
     (N.D. Cal. Apr. 6, 2015) (patent claiming “use of identification codes to organize and
     transmit confidential information” held drawn to abstract idea); Advanced Auctions, LLC
     v. eBay Inc., No. 13CV1612 BEN (JLB), 2015 WL 1415265, at *5 (S.D. Cal. Mar. 27,
     2015) (“The patent itself describes implementing an existing abstract idea—an auction—
     refined for implementation on the Internet.”); Tenon & Groove, LLC v. Plusgrade S.E.C.,
     No. 12-1118-GMS-SRF, 2015 WL 1133213, at *2 (D. Del. Mar. 11, 2015) (“computer-
     implemented method for concurrent optimization of value in a transaction between at least
     two entities” held an abstract idea); Essociate v. Clickbooth.com, LLC, No. SACV 13–
     01886–JVS (DFMx), 2015 WL 1428919, at *5 (C.D. Cal. Feb. 11, 2015) (“steps for how a
     merchant can gain access to customers from a referring entity without having to compete
     with other merchants for those same customers” held merely to describe abstract idea); In
     re TLI Commc’ns LLC Patent Litig., MDL No. 1:14md2534, 2015 WL 627858, at *8
     (E.D. Va. Feb. 6, 2015) (“[T]he ’295 patent claims at issue are clearly directed to the
     abstract idea of taking, organizing, classifying, and storing photographs.”); Open Text S.A.
     v. Box, Inc., No. 13–cv–04910–JD, 2015 WL 269036, at *3 (N.D. Cal. Jan. 20, 2015)
     (“Shorn of its implementation-specific fleece, the claim is directed at providing a method
     for people to collaborate and share information without the need for specialized software
     or expertise.”); Synopsys v. Mentor Graphics Corp., No. C 12–6467 MMC, 2015 WL
     269116, at *3 (N.D. Cal. Jan. 20, 2015) (“[T]he asserted claims are directed to the process
     of interference, which is fundamental to IC design and can be performed mentally.”);
     Bascom Research, LLC v. LinkedIn, Inc., No. 12–cv–06293–SI, 2015 WL 149480, at *8
     (N.D. Cal. Jan. 5, 2015) (patent described “abstract idea of creating, storing and using
     relationships between objects”); Morales v. Square, Inc., No. 5:13–cv–1092–DAE, 2014
     WL 7396568, at *7 (W.D. Tex. Dec. 30, 2014) (“Claim 6 of the ’589 patent encompasses
     an abstract idea because it describes the fundamental concept of relaying a signal
     containing the sender’s identity.”).

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     selling,” and (2) the patent’s use of a “computer system with a configuration engine” did

     not meaningfully limit the claims as the steps “can be performed entirely by a human,

     mentally or with pencil and paper.” Clear with Computers I, 21 F. Supp. 3d at 765.

                 Similarly, in Clear with Computers II, the patent claimed a “computer-

     implemented method to (1) present questions to, and receive answers from, a customer

     regarding products for sale; (2) based on at least one answer, select a picture of the

     product, a picture of the product environment, and a textual product description; and (3)

     put the pictures and text into a single visual output as part of a customized proposal for

     sale.” Clear with Computers II, 2015 WL 993392, at *4. Judge Gilstrap found (1) the

     patent was drawn to the “abstract idea of creating a customized sales proposal for a

     customer,” and (2) the computerization of the patent’s steps added nothing because “[t]he

     steps performed by the claimed computer elements are functional in nature and could

     easily be performed by a human.” Id.

                 The ’221 Patent is similar in that it attempts to claim an abstract idea implemented

     with generic computer components that could easily be done by a person. At its most

     fundamental level, the patent describes a method and system for storing and delivering

     media content. Plaintiff itself concedes the abstract nature of the ’221 Patent’s claims

     when it alleges the claims are drawn to (1) a “system for media content storage and

     delivery” and a “method for storing media content and delivering requested media content

     to a consumer device.” Comp., Dkt No. 1, ¶ 12; see also ’221 Patent, abstract (“A system,

     method, and device for media content storage and delivery.”).

                 Independent claims 1 and 7, which are representative of the claimed invention,

     recite the following steps:


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                 •       Receiving messages from consumers requesting content;

                 •       Confirming that the consumer is using a registered consumer device;

                 •       Determining whether the consumer has sent a request for immediate delivery

                         or for storage;

                 •       Determining whether the requested content is available for either immediate

                         delivery or storage;

                 •       Checking whether there are restrictions on delivery to the consumer device;

                         and

                 •       Delivering the content if available.

                 These steps describe, at a high level of generality, a process for receiving a

     consumer request for an item, reviewing the request to determine whether it contains

     certain information, and delivering the requested item. This claims nothing more than the

     ubiquitous business practice of checking one’s inventory to see if an item requested by a

     customer is in stock.6 None of this is unique to online media; indeed, these familiar

     practices are integral to every business that sells goods, whether digital or physical.7 See,

     e.g., Clear with Computers I, 21 F. Supp. 3d at 765 (concept of “selling goods from

     inventory” is an abstract business idea).

                 The generic inventory-checking process claimed by Plaintiff is at least as abstract,

     6
      Similarly, the dependent claims mimic commonplace and common-sense business
     practices like telling a customer if an item is available or what its price is. See ’221
     patent, claims 2, 8, 12.
     7
       It is not necessary at this step to determine whether the patent claims anything that
     departs from traditional business methods. See Ultramercial, 772 F.3d at 715 (“We do not
     agree with Ultramercial that the addition of merely novel or non-routine components to
     the claimed idea necessarily turns an abstraction into something concrete. In any event,
     any novelty in implementation of the idea is a factor to be considered only in the second
     step of the Alice analysis.”).

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     if not more so than claims that have been held invalid in other cases. See, e.g.,

     Ultramercial, 772 F.3d at 712 (finding abstract and invalidating a patent claiming “a

     method for distributing copyrighted media products over the Internet where the consumer

     receives a copyrighted media product at no cost in exchange for viewing an advertisement,

     and the advertiser pays for the copyrighted content”).

                 Tellingly, in this case, all the steps of the ’221 Patent8 could be performed by a

     video rental store clerk:


                  Claim 7 Language                               As Performed by a Human
     7. A method for storing media content and           A clerk at a video rental store:
     delivering requested media content to a
     consumer device, the method comprising:
      receiving a request message including              Accepts requests from customers for
      media data indicating requested media              videos, wherein the requests contain certain
      content and a consumer device identifier           information including the title of the video,
      corresponding to the consumer device;              how long the customer wants to retain it, at
                                                         the same time as an identifier for the
                                                         customer (e.g., the video rental store’s
                                                         membership card).9
         determining whether the consumer device         Checks the customer’s membership card
         identifier corresponds to a registered          against a list of approved members without
         consumer device; and                            any late fees.
         if it is determined that the consumer           If the clerk determines that the customer is
         device identifier corresponds to the            on the list of approved members, then the
         registered consumer device, then:               clerk will determine whether the customer
                                                         is asking for a video that is available for
          determining, whether the request               rental now or to back-order a video that
          message is one of a storage request            isn’t on the shelves.

     8
       For simplicity, only the method claim is analyzed here, but the analysis for the
     corresponding system claim would yield the same result. Also, the corresponding system
     claim is linked to and falls with the method claim. To allow the system claim, while
     invalidating the method claim, would permit applicants to preempt abstract ideas by the
     mere use of patent-drafting conventions. See Alice, 134 S. Ct. at 2360 (“This Court has
     long warn[ed] . . . against interpreting § 101 in ways that make patent eligibility depend
     simply on the draftsman’s art.” (quoting Mayo, 132 S. Ct. at 1289) (quotations omitted)).
     9
       For the purposes of a Section 101 inquiry, checking to see whether a consumer is using a
     registered device (as the claim requires) is an idea at the same level of abstraction as
     checking to see whether a consumer has a membership.

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                   Claim 7 Language                           As Performed by a Human
         message and a content request message;
         and
       if the request message is the storage          If the customer wants to back-order a video,
       request message, then determining              the clerk will check a list of videos from the
       whether the requested media content is         company’s warehouse to see if the video
       available for storage; and                     can be back-ordered.
       if the request message is the content          If the customer wants a video that is in
       request message, then initiating delivery      stock, then the clerk will give the video to
       of the requested media content to the          the customer for rental.
       consumer device;
       wherein the media data includes time data    The clerk is able to receive information
       that indicates a length of time to store the from customers about how long they would
       requested media content; and                 like the store to stock the video before
                                                    returning it to the warehouse.
       the first processor is further configured to The clerk checks the shelves of the store
       determine whether the requested media        and the list of warehoused videos to see if
       content exists; and                          the video rental store has the video
                                                    anywhere.
       if the processor determines that the         If the clerk sees that the video rental store
       requested media content exists, the          has the video somewhere, the clerk will
       processor is further configured to           determine whether the video is available
       determine whether the requested media        and whether there are any restrictions on
       content is available and whether there are the membership that would preclude the
       restrictions associated with the requested   rental of the video to the customer (e.g., no
       media content that prevent the requested     restricted movies for members under 17; no
       media content from being delivered to the rentals to customers who have not paid late
       consumer device.                             fees).
              That a human being can perform all of the claim limitations confirms that the ’221

     claims are drawn to an abstract idea. See, e.g., Clear with Computers I, 21 F. Supp. 3d at

     767 (“[A] store clerk, armed with only a pencil and paper, can receive a question about

     men’s basketball sneakers, determine the options available (color, brand, size, etc.) and the

     availability of those options in inventory, prepare a list of those available options, and

     present that list to the customer.”); Clear with Computers II, 2015 WL 993392, at *4

     (“The claims essentially propose that, instead of a human salesman asking customers

     about their preferences and then creating a brochure from a binder of product pictures and

     text and using a rolodex to store customer information, a generic computer can perform

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     those functions.”); OpenTV, Inc. v. Apple, Inc., No. 14-cv-01622-HSG, 2015 WL

     1535328, at *4 (N.D. Cal. Apr. 6, 2015) (considering whether claims can be “performed in

     the human mind[] or by a human using pen and paper” when determining whether claims

     are directed to abstract ideas) (quoting CyberSource Corp. v. Retail Decisions, Inc., 654

     F.3d 1366, 1372 (Fed. Cir. 2011)).

                 Accordingly, the claims of the ’221 Patent are directed to an abstract idea—the

     idea of storing and delivering media content—and are not patentable.

                         2.     The ’221 Patent’s Claims Supply No Inventive Step That Would
                                Make Them Patent-Eligible

                 As detailed earlier, the ’221 claims are drawn to the abstract idea of storing and

     delivering media content—the equivalent of checking to see if a video is available for a

     customer. The claim language does not “do significantly more than simply describe that

     abstract method.” Ultramercial, 772 F.3d at 715. The claim elements do not, individually

     or in combination, require anything but a general-purpose computer to perform the various

     steps and “add nothing of practical significance to the underlying abstract idea.” Id. at

     716.

                 Individually, each step of the claims of the ’221 Patent merely describes a

     component of the abstract idea—for example, checking to see if content is available—with

     the instruction that the step be performed by a generic computer. But “adding the words

     ‘apply it with a computer’ simply combines those two steps, with the same deficient

     result.” Alice, 134 S. Ct. at 2350; Ultramercial, 772 F.3d at 715 (claims that “simply

     instruct the practitioner to implement the abstract idea with routine, conventional activity”

     held invalid).

                 The ’221 Patent’s computerized steps—receiving input (receiving the consumer

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     request for media content), sorting information (determining whether the request is one for

     media content or media storage), checking information against a list or database

     (determining whether a consumer device identifier is linked to a registered consumer

     device), and providing output (delivering requested media content to a consumer)—all

     describe well-known computer functions. See Alice, 134 S. Ct. at 2359 (using a computer

     to “obtain data, adjust account balances, and issue automated instructions” all involve

     “well-understood, routine, conventional activities previously known to the industry”);

     Ultramercial, 772 F.3d at 716 (“[R]outine additional steps such as updating an activity

     log, requiring a request from the consumer to view the ad, restrictions on public access,

     and use of the Internet does not transform an otherwise abstract idea into patent-eligible

     subject matter.”); buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014)

     (“The computer functionality is generic—indeed, quite limited: a computer receives a

     request for a guarantee and transmits an offer of guarantee in return.”); Content Extraction

     & Transmission LLC v. Wells Fargo Bank, N.A., 776 F.3d 1343, 1349 (Fed. Cir. 2014)

     (“[D]etecting the presence of a particular one of said defined set of symbols on a hard

     copy document” merely described “generic optical character recognition technology.”);

     CyberSource Corp., 654 F.3d at 1370 (holding “mere collection and organization of data”

     insufficient). Consequently, all of the computer components listed by the ’221 claims are

     “purely functional and generic.” Alice, 134 S. Ct. at 2360 (“Nearly every computer will

     include a ‘communications controller’ and ‘data storage unit’ capable of performing the

     basic calculation, storage, and transmission functions required by the method claims.”).10

     10
       The ’221 Patent itself confirms that the claimed invention can be realized using “[a]ny
     kind of computing system” and that a “typical” implementation will not require anything
     more than a “general purpose computer system.” ’221 Patent, 10:12-19 (emphases
     added). Further, because the ’221 claims are “not tied to any particular novel machine or
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                 Nor does the ordered combination of the steps of the ’221 Patent add anything

     because their sequence—“obtaining, separating, and then sending information”—

     “follow[s] from the underlying idea of categorical information storage [and delivery].”

     Cyberfone Sys., LLC v. CNN Interactive Grp., Inc., 558 Fed. App’x 988, 993 (Fed. Cir.

     2014). Indeed, there is no way to logically perform the invention other than in the

     sequence recited in its claims: one obviously must receive a consumer request for an item

     before checking to see if it is available, and one must check availability before delivering

     the item.

                 Finally, the ’221 Patent’s purported limitation to online media places no

     meaningful limitation on its abstract idea. The ’221 claims merely invoke the Internet and

     on-demand media generally to take advantage of “[t]he widespread growth of

     communication networks and internet enabled consumer devices allow[ing] consumers to

     stream on-demand videos and music.” ’221 Patent 1:31-33. Any such attempt to limit the

     covered systems to a “particular technological environment” is insufficient to confer

     patentability. Alice, 134 S. Ct. at 2350; Ultramercial, 772 F.3d at 716 (“[T]he use of the

     Internet is not sufficient to save otherwise abstract claims from ineligibility.”); buySAFE,

     765 F.3d at 1355 (“That a computer receives and sends the information over a network—

     with no further specification—is not even arguably inventive.”). Moreover, as the patent

     itself acknowledges, on-demand streaming via the Internet was widespread long before the

     patent. See ’221 Patent 1:31-2:16.

                 Unlike in DDR Holdings, LLC v. Hotels.com, L.P., the claims at issue here

     apparatus, [but] only a general purpose computer,” they also fail the Federal Circuit’s pre-
     Alice machine-or-transformation test. See Ultramercial, 772 F.3d at 716. While passing
     this test is no longer conclusive, failing it confirms that a patent is directed to unpatentable
     subject matter. See id. at 717.

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     “merely recite the performance of some business practice known from the pre-Internet

     world along with the requirement to perform it on the Internet.” DDR Holdings, LLC v.

     Hotels.com, L.P., 773 F.3d 1245, 1257 (Fed. Cir. 2014). The Federal Circuit cautioned

     that “not all claims purporting to address Internet-centric challenges are eligible for

     patent.” Id. at 1258. As noted in the video store example, the ’221 Patent recites the

     performance of renting a video from a video store, but simply performs it on the internet.

     The ’221 Patent seeks to solve the same problem video stores had already solved prior to

     the Internet: how to deliver the video to the consumer even when the video is not on site.

     In Messaging Gateway, the Court found that the claims at issue manipulated an interaction

     between a mobile phone and a computer “in order to achieve a desired result which

     overrides conventional practice.” Messaging Gateway Solutions, LLC v. Amdocs, Inc.,

     No. 14-732-RGA, 2015 WL 1744343, at *5 (N.D. Cal. Dec. 16, 2014). In contrast, the

     claims here merely convert the conventional practice of video store rentals to a digital

     form involving computers without manipulating the process in any way.

                 In sum, the ’221 Patent’s claims add “no meaningful limitations to convert the

     abstract idea into patent-eligible subject matter.” Ultramercial, 772 F.3d at 714.

     VI.         CONCLUSION

                 The claims of the asserted ’221 Patent are directed to an abstract idea storing and

     delivering media content, a practice that existed long before computers and the Internet.

     As such, they are ineligible for patent protection under 35 U.S.C. § 101 and VUDU

     respectfully requests this Court dismiss Plaintiff’s complaint for patent infringement with

     prejudice.




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     Dated:         June 12, 2015             Respectfully submitted,

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                                      CERTIFICATE OF SERVICE


                 I hereby certify that counsel of record who are deemed to have consented to

     electronic service are being served on June 12, 2015, with a copy of this document via the

     Court's CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of record will be

     served by First Class U.S. Mail on this same date.

                                                        /s/ Bijal V. Vakil
                                                        Bijal V. Vakil




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